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 4                                UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6                                                   ***
 7    UNITED STATES OF AMERICA,                                  Case No. 2:16-cr-00032-JCM-GWF
 8                                           Plaintiff,                        ORDER
             v.
 9                                                                  (Mot Reopen Det – Dkt. #48)
      GHASSAN BOUARI HOUBOUS,
10
                                          Defendant.
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12           Before the court is Defendant Ghassan Bouari Houbous’ (“Houbous”) Motion to Reopen
13    Detention Hearing (Dkt. #48). The court has considered the motion and the government’s
14    Opposition (Dkt. #51).
15                                           BACKGROUND
16           Houbous is charged in an Indictment (Dkt. #1) returned February 3, 2016, with money
17    laundering in violation of 18 U.S.C. § 1956(a)(3)(A) and (B), aiding and abetting, and
18    conspiracy to commit money laundering in violation of 18 U.S.C. § 1956(a)(3)(A) and (B). He
19    made an initial appearance on February 8, 2016, was appointed counsel, arraigned on the
20    indictment, and a detention hearing was held.           Following the detention hearing, the court
21    detained Houbous finding there was a serious risk that he would not appear because: (1) he was
22    not a citizen of the United States; (2) immigration authorities had lodged a detainer against him;
23    (3) he had substantial foreign ties to three different countries and dual citizenship in Chile and
24    Lebanon; (4) he was married to a Turkish citizen who was currently out of the country; and (5)
25    none of his personal information could be verified.
26           In the current motion he seeks to reopen his detention pursuant to 18 U.S.C. § 3142(f)
27    based on what he argues is new information that shows he is not a flight risk. Specifically,
28    Houbous states that Nevada attorney, Matthew Peirce, is currently working with Houbous to
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 1    manage his businesses and expenses and is willing to serve as a third-party custodian to ensure

 2    he will appear at all required court appearances. Mr. Peirce is also willing to let Houbous stay

 3    with him at his home in Las Vegas, Nevada until he can rent an apartment, which he has the

 4    financial wherewithal to do.

 5           The motion acknowledges that Houbous’ ties are mainly in New Jersey and Florida, but

 6    states he is willing to reside in Las Vegas until resolution of this case and to be placed on GPS

 7    monitoring. Houbous owns a business in New Jersey and Mr. Peirce can verify his “personal

 8    and business information.” Houbous was lawfully in the United States at the time of his arrest,

 9    and immigration status is not a factor the court is authorized to consider under 18 U.S.C. §

10    3142(g), although he acknowledges that alienage may be taken into account. The court has the

11    authority under 18 U.S.C. § 3142(d) to release someone with an immigration hold prior to trial

12    and allow him to deal with his immigration issues separately. If immigration services fails to

13    take him within ten days, then he should be treated in accordance with the other provisions of 18

14    U.S.C. § 3142 which favor release prior to trial. Finally, Houbous states that his passports are in

15    possession of employees in New Jersey, and that arrangements can be made to surrender the

16    passports to the court until the resolution of the case.

17           The government opposes the motion arguing that it “summarily claims” that attorney

18    Peirce can verify all of Houbous’ personal and business information and ties to New Jersey and

19    Florida. However, the motion fails to supply any additional information which might allow the

20    government, pretrial services, or the court, to evaluate the depth of Mr. Peirce’s knowledge about

21    Houbous and his affairs, or the strength of his ties to Florida and New Jersey. Government

22    counsel contacted a pretrial services officer who advised that neither defense counsel nor Mr.

23    Peirce had contacted him to update and verify any of the information contained in the previously

24    prepared pretrial services report.     The motion does not describe the relationship between

25    Houbous and Mr. Peirce, or why Mr. Peirce’s information was not presented at the time of the

26    initial detention hearing.      Thus, his information is not newly discovered or changed

27    circumstances sufficient to support reopening of the detention hearing.

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 1           The government maintains it met its burden of showing a preponderance of evidence that

 2    the defendant was a risk of flight. Hiring an immigration attorney willing to vouch for him is

 3    insufficient to mitigate all of the factors noted by pretrial services and the court supporting his

 4    detention. The only family tie Houbous has to the United States is his brother, co-Defendant

 5    Emile Bouari, “who masterminded the entire money laundering scheme.” This defendant had a

 6    temporary authorization to be in the United States under an “E-2” visa which is a visa issued to

 7    persons who invest money in a United States business. ICE has questioned the legality of the

 8    Defendant’s status in this country and has lodged a detainer against him.

 9           The government’s opposition also relates the underlying circumstances of the indictment

10    and allegations that Houbous’ various business holdings constituted an integral part of the

11    mechanism used to launder approximately $590,000 in funds believed by the defendants to be

12    proceeds derived from narcotics trafficking, and transporting, recruiting and harboring persons

13    for commercial sex acts. The opposition reiterates arguments made during the detention hearing

14    about the nature of the offenses charged, including Houbous’ communications with an

15    undercover FBI agent discussing opening various prostitution parlors in Florida for which

16    Houbous proposed he would recruit Asian, Latin, and Russian women as commercial sex

17    workers. The government submits that Houbous would have a “ready escape route” to flee to

18    any foreign country, including foreign countries with whom the United States does not have

19    extradition agreements based on his knowledge of international human smuggling pipelines.

20    Thus, there are no conditions or combinations of conditions that would reasonably assure his

21    appearance at trial.

22                                             DISCUSSION

23           A detention hearing may be reopened only “if the judicial officer finds that information

24    exists that was not known to the movant at the time of the hearing,” and that the information “has

25    a material bearing on the issue whether there are conditions of release that will reasonably assure

26    the appearance of the person as required, and the safety of any other person and the community.”

27    18 U.S.C. § 3142(f). As the court noted in United States v. Ward, 63 F. Supp. 2d 1203 (C.D.

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 1    Cal. 1999), “courts have interpreted this provision strictly, holding that hearings should not be

 2    reopened if the evidence was available at the time of the initial hearing.” Id. at 1206.

 3           Having reviewed and considered the moving and responsive papers, the court finds that

 4    Houbous has not met his burden of establishing that there is new evidence not known to him at

 5    the time of the detention hearing that has a material bearing on whether there are conditions of

 6    release that can reasonably be fashioned to assure his appearance at trial. Accordingly,

 7           IT IS ORDERED that Houbous’ Motion to Reopen Detention Hearing (Dkt. #48) is

 8    DENIED.

 9           DATED this 15th day of June, 2016.
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11
                                                            PEGGY A. LEEN
12                                                          UNITED STATES MAGISTRATE JUDGE
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